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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW JERSEY
                                      CAMDEN VICINAGE


  IN RE: VALSARTAN, LOSARTAN, AND
                                                                                    MDL No. 2875
  IRBESARTAN PRODUCTS LIABILITY
                                                                                Hon. Renèe Marie Bumb
  LITIGATION


  This document relates to: All Actions



                 NOTICE OF PERMANENT INJUNCTION AND DISCHARGE


         PLEASE TAKE NOTICE that, on October 15, 2023, Rite Aid Corporation and certain

 of its affiliates and subsidiaries (collectively, the “Reorganized Debtors” and, prior to August 30,

 2024, the “Debtors”), filed voluntary petitions for relief under chapter 11 of title 11 of the United

 States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”), in the United States Bankruptcy

 Court for the District of New Jersey (the “Bankruptcy Court”) commencing cases which were

 jointly administered under the lead case In re Rite Aid Corp., Case No. 23-18993 (MBK)

 (collectively, the “Chapter 11 Cases”). Pursuant to 11 U.S.C. § 362, all claims against the Debtors,

 including class claims and individual personal injury claims1 in the above-captioned multi-district

 litigation (the “MDL”), were automatically stayed during the pendency of the Chapter 11 Cases.

         PLEASE TAKE FURTHER NOTICE that the Bankruptcy Court confirmed the Debtors’

 Plan of Reorganization on June 28, 2024, and issued the Order Approving the Disclosure

 Statement and Confirming the Second Amended Joint Chapter 11 Plan of Reorganization of Rite




 1 A list of individual member cases of the MDL in which Debtors have been formally named is attached as Exhibit A,
     though as to Debtors the stay applied, and discharge applies, to every case in the MDL, regardless of whether the
     Debtors were formally named.




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 Aid Corporation and Its Debtor Affiliates (With Further Modifications) [Docket No. 4532]

 (the “Confirmation Order”) on August 16, 2024. Copies of the Confirmation Order and the

 Debtors’ Plan of Reorganization are attached hereto as Exhibit B.2 The Debtors’ Plan of

 Reorganization went into effect on August 30, 2024 (the “Effective Date”). A copy of the notice

 of effective date is attached hereto as Exhibit C.

         PLEASE TAKE FURTHER NOTICE that pursuant to the Confirmation Order, any

 claim, interest, or cause of action against the Debtors or their property that arose before the

 Effective Date and is not otherwise addressed pursuant to the Confirmation Order, Plan, or related

 papers has been discharged and the pursuit of any such claim, interest, or cause of action, whether

 known or unknown, has been permanently enjoined. Confirmation Order ¶ 179; see also id. ¶¶

 200-01 (implementing channeling injunction). Accordingly, as of August 30, 2024, the automatic

 stay that applied to the above-captioned MDL during the pendency of the Chapter 11 Cases was

 replaced by a discharge injunction in accordance with 11 U.S.C. § 524(a)(2), permanently

 enjoining the pursuit of the claims asserted against the Reorganized Debtors in the above-captioned

 MDL outside of the process established by the Bankruptcy Court. No order has been entered in

 the Chapter 11 Cases granting relief from the discharge injunction with respect to the above-

 captioned MDL.

         PLEASE TAKE FURTHER NOTICE that pursuant to Article XIII of the Plan, “on and

 after the Effective Date, the Bankruptcy Court shall retain exclusive jurisdiction, except as

 otherwise set forth in th[e] Plan, over all matters arising out of, or relating to, the Chapter 11 Cases

 and the Plan pursuant to sections 105(a) and 1142 of the Bankruptcy Code.” Plan Art. XIII; see



 2   Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Plan or
     Confirmation Order.




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 also Confirmation Order ¶ 275 (incorporating Article XIII of the Plan). As set forth in Article XIII

 of the Plan, the Bankruptcy Court expressly retains “jurisdiction to: . . . adjudicate, decide, or

 resolve any and all matters related to section 1141 of the Bankruptcy Code,” i.e., the provision of

 the Bankruptcy Code that provides for the discharge of debts pursuant to the confirmation of a

 plan. See Plan Art. XIII(7); 11 U.S.C. § 1141(d).

        PLEASE TAKE FURTHER NOTICE that except as otherwise provided in the Plan, any

 party that did not opt in to the releases contained in Article X.D of the Plan (or, other than Allowed

 General Unsecured Claims, any party who was deemed to reject the Plan) and that seeks to assert

 a claim against a Released Party must first obtain a final order from the Bankruptcy Court, after

 notice and a hearing, (i) determining that such claim or Cause of Action is not subject to the

 releases contained in Article X.C of the Plan and (ii) specifically authorizing such party to bring

 such claim against any Released Party. See Plan Art. X.D; Confirmation Order ¶ 22. Except as

 otherwise provided in the Plan or the Confirmation Order, the Bankruptcy Court retains sole and

 exclusive jurisdiction to determine whether a claim constitutes a direct or derivative claim, is

 colorable and, only to the extent legally permissible and as provided for in Article XI of the Plan,

 the Bankruptcy Court shall have jurisdiction to adjudicate the underlying claim or Cause of Action.

 See Confirmation Order ¶ 22.

        PLEASE TAKE FURTHER NOTICE that pleadings filed in the Chapter 11 Cases may

 be obtained free of charge by visiting the website of the Reorganized Debtors’ noticing and claims

 agent, Kroll Restructuring Administration, at https://restructuring.ra.kroll.com/RiteAid/. You may

 also   obtain    copies    of    any     pleadings       by   visiting   the    Court’s   website   at

 https://www.njb.uscourts.gov/ (PACER login and password required) in accordance with the

 procedures and fees set forth therein.




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        PLEASE TAKE FURTHER NOTICE that, consistent with the bankruptcy discharge and

 injunction, the Reorganized Debtors respectively request that the Court administratively terminate

 the above-captioned MDL, and all individual cases therein, as to the Reorganized Debtors.


 Dated: September 30, 2024                           Respectfully submitted,


                                                     /s/ Kara Kapke
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                                                     Counsel for Defendant Rite Aid Corporation




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 30th day of September, 2024, I filed the foregoing Notice of

 Permanent Injunction and Discharge electronically through the CM/ECF system, which will send

 notice of filing to all CM/ECF participants.


                                                      /s/ Kara Kapke
                                                      Kara Kapke, Esq.




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